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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                   CYBER TECHNOLOGIES LIMITED’S
                                               ADMINISTRATIVE MOTION TO FILE
14         v.                                  UNDER SEAL DEFENDANTS’ LOCAL
                                               RULE 79-5(f)(3) STATEMENT [RE
15   NSO GROUP TECHNOLOGIES LIMITED            DOCKET NO. 188]
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             Judge: Hon. Phyllis J. Hamilton
                 Defendants.
17                                             Action Filed: 10/29/2019
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      DEFENDANTS’ ADMINISTRATIVE                                    Case No. 4:19-cv-07123-PJH
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 1           Pursuant to Civil Local Rules 7-11 and 79-5(d) and 79-5(f)(3), Defendants NSO Group

 2 Technologies Limited and Q Cyber Technologies Limited (collectively, the “Defendants”), by and

 3 through their undersigned counsel, hereby submit this Administrative Motion to File Under Seal

 4 (the “Motion”) certain language in paragraphs 3-8 and 10 of the concurrently filed Local Rule 79-

 5 5(f)(3) declaration of Aaron Craig (“Craig Declaration.”) The Craig Declaration is filed as

 6 Defendants’ responsive statement to Plaintiffs’ Administrative Motion to Consider Whether
                                                             1
 7 Another Party’s Material Should be Sealed (Dkt. No. 188).

 8           The Motion is based upon the points and authorities set forth herein, as well as those facts

 9 attested to in the accompanying Craig Declaration.

10 I.        BACKGROUND

11           The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served on

12 March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No. 45.)

13 Plaintiffs served their RFPs on June 4, 2020, seeking swaths of information that would cause

14 Defendants to violate Israeli law if Defendants were forced to produce the information. (Craig.

15 Decl. ¶ 2.) This Court stayed discovery shortly after Plaintiffs served their RFPs. (Dkt. No. 155.)

16 After the stay ended, the Court held a status conference at which it instructed the parties to meet

17 and confer over the effect of Israeli law on Plaintiffs’ RFPs and if the parties cannot resolve the

18 issue, for Defendants to file a motion for protective order. The parties met and conferred but could
19 not reach a resolution, forcing Defendants to file a motion for protective order. (Craig Decl. ¶ 2.)

20           In connection with their opposition to the motion for protective order, Plaintiffs filed the

21 pending Administrative Motion to Consider Whether Another Party’s Material Should be Sealed

22 (“Administrative Motion”), asking the Court to consider whether Defendants’ proposed redactions

23 of the Declaration of Antonio J. Perez-Marques in support of Plaintiffs’ opposition (“Perez-

24 Marques Declaration”) and of Exhibit A to the Perez-Marques Declaration should be sealed.

25 (Craig Decl. ¶ 3.) Defendants submit the concurrently filed Craig Declaration as their Local Rule

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27  In the Craig Declaration filed concurrently, Defendants further ask the Court to keep under seal
   paragraphs 3 and 6 of Docket No. 188-1, the declaration of Antonio Perez-Marques, and page 2 of
28 Docket  No. 188-2 (Exhibit A to the declaration of Antonio Perez-Marques).
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 1   79-5(f)(3) responsive statement to this Administrative Motion, to explain why these documents,

 2   as well as certain language in paragraphs 3-8 and 10 of the Craig Declaration itself, must be sealed.

 3          For information about additional matters relevant to this Motion, the Court is respectfully

 4 referred to paragraphs 3 through 8 of the accompanying Craig Declaration.

 5 II.      LEGAL STANDARDS

 6          Although courts recognize a general right to inspect and copy public records, “access to

 7 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

 8 (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

 9 materials are to the merits of the case. A party seeking to seal materials submitted with a motion

10 that is “more than tangentially related to the merits of the case” must demonstrate that there are

11 compelling reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC,

12 809 F.3d 1092, 1101–02 (9th Cir. 2016). On the other hand, “[a] party seeking leave to file

13 documents under seal in conjunction with a non-dispositive motion” need only show “good cause

14 exists to file the information under seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-

15 cv-00362-PJH, 2018 WL 2392561, at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the

16 “good cause” standard, the relevant inquiry is “whether good cause exists to protect the

17 information from being disclosed to the public by balancing the needs for discovery against the

18 need for confidentiality.” Wells Fargo & Co. v. ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013

19 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.).

20          Here, Defendants seek to file under seal the Craig Declaration, which is being filed in

21 response to Plaintiffs’ Administrative Motion pursuant to Local Rule 79-5(f)(3) (which in turn

22 relates to a motion for a protective order). Accordingly, the “good cause” standard applies to this

23 Motion. Even if the higher “compelling reasons” standard applied, that standard is met here.

24 III.     LEGAL ARGUMENT

25          This Motion is supported by good cause (and to the extent required, by compelling reasons)

26 based on the facts attested to in the Craig Declaration. Certain language in Paragraphs 3-8 and 10

27 of the Craig Declaration (the “Confidential Foreign Materials”) contain highly sensitive, non-

28 public information, the disclosure of which would prejudice Defendants and other parties not
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 1   before the Court. See, e.g., Compal Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal.

 2   Sept. 5, 2017); Omari v. Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14

 3   (S.D.N.Y. Aug. 18, 2017); Strauss v. Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y.

 4   Oct. 6, 2011). Therefore, Defendants now seek leave of this Court to file the Confidential Foreign

 5   Materials under seal.

 6          Good cause exists to seal the Craig Declaration, and Defendants respectfully request that

 7   the Court grant this Motion and order them be kept under seal. For a full description of that good

 8   cause, the Court is respectfully referred to paragraph 10 of the accompanying Craig Declaration.

 9   Defendants have closely analyzed the Craig Declaration and are asking the Court to file under seal

10   only the bare minimum amount necessary.

11   IV.    CONCLUSION

12          For the reasons set forth above and in the accompanying Craig Declaration, Defendants

13   respectfully request that the Court grant this Motion and order certain language in the Craig

14   Declaration be kept under seal. In their Local Rule 79-5(f)(3) statement, Defendants further

15   request that paragraphs 3 and 6 of Docket No. 188-1 and page 2 of Docket No. 188-2, both filed

16   by Plaintiffs, also be kept under seal.

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18   DATED: May 23, 2023                              KING & SPALDING LLP
19                                                    By: /s/Aaron S. Craig
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22                                                        CYBER TECHNOLOGIES LIMITED
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